Case 2:04-cv-02526-SHI\/|-tmp Document 15 Filed 08/19/05 Page 1 of 3 Page|D 21

IN THE UNITED STATES DISTRICT COURT F"-ED B`*' -»- D-‘»`-

 

FoR THE wESTERN DISTRICT oF TENNESSEE _
WESTERN DIVISIoN 95 AUG |9 AH 6= 5|
1le lNSURANCE CoMPANY, as Assignee G£`§};DL}; .j,.»§;#’,?v:;pggm
of Arkansas Cable and Fiber Optics, Inc., " " " """ `
Plaintiff,
v. No. 04-cv-2526~Ma

JAC() AIRFIELD CONSTRUCTION, INC.,

Defendant.

 

JACO AIRF]ELD CONSTRUCTION, INC.
Third Party Plaintiff,
v.

RLI INSURANCE COMPANY, As Assignee
ofArkansas Cable and Fiber Optics, Inc.,

Third Party Defendant.

 

CONSENT ORDER OF D|SM|SSAL WlTH PREJUDICE

 

COME NOW the parties, by and through counse|, and announce to the Court that
all matters and things heretofore in controversy between the Plaintiff and Defendant have
been settled and compromised and that all matters and things heretofore in controversy
between the Third Party P|aintiff and Third Party Defendant have been settled and
compromised, and that both the P|aintiff and the Third Party P|aintiff’s claims should

therefore be dismissed, With prejudice

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Case 2:04-cv-O2526-SH|\/|-tmp Document 15 Filed 08/19/05 Page 2 013 Page|D 22

|T |S THEREFORE, ORDERED, ADJUDGED AND DECREED that the Comp|aint
of P|aintiff, RL| insurance Company, against Defendant, JACO Airfie|d Constructionl lnc.,
be and is hereby dismissed With prejudice and that the third party claim of Third Party
P|aintiff, JACO Airfie|d Construction, lnc., against Third Party Defendant, Arkansas Cable

81 Fiber Opticsl lnc., be and is hereby dismissed With prejudice

/LB&~JL"X/ibrmsr

 

JUDGE

Date:

 

Approved or Entry

John D. |let BPR #18958

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and Third Party Defeno'ant
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Atforneys and Counselors for Defeno'ant
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H \DuCSwBBB‘.p|u JDW -Cmsmr order al D\smissal

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02526 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

